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 1   R. Christopher Harshman, Esq. (248214)
      chris@packetlaw.com
 2   David M. Shaby II (97871)
      david@ds4law.com
 3   DAVID M. SHABY II & ASSOCIATES
     11949 Jefferson Blvd. Ste 104
 4   Culver City, California 90230
     Telephone: (310) 827-7171
 5   Facsimile: (310) 382-2092
 6   Attorneys for Petitioners Kate Scott and
     James Babinski
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 8                              United States District Court
 9                              Central District of California
10   Kate Scott, et al,                                    Case no. 2:17-cv-07329-PSG (FFMx)
11                                     Plaintiff,          Removed from LASC [BS169465]
12                        vs.                              Assigned to the Hon. Philip S.
                                                           Gutierrez
13   City Council for the City of Santa Monica, et al,
                                                           PLAINTIFFS’ OPPOSITION TO MOTION
14                                     Defendants.         TO DISMISS CASE AND/OR MOTION TO
                                                           STRIKE [ECF NO. 41]
15
16                                                         Date: December 18, 2017
                                                           Time: 1:30 p.m.
17                                                         Place: First Street Courthouse
18                                                                350 West 1st Street, Ctrm 6A
                                                                  Los Angeles, California 90012
19
20         Plaintiffs and petitioners Kate Scott and James Babinski (“Petitioners”)
21   respectfully oppose the pending Defendant City Council for the City of Santa Monica’s
22   Motion to Dismiss and/or Motion to Strike Verified Amended Petition (ECF No. 41)
23   (“Motion to Dismiss”), and hereby incorporate by reference their pending Motion for
24   Reconsideration of Superior Court Decisions re Interpretation of the Brown Act (ECF
25   No. 62) (“Motion to Reconsider”). Both of these motions are set to be heard by the
26   Court on the same date (see ECF No. 64, Minutes Resetting Motion Hearing Date, ECF
27   No. 57, Stipulation to Continue, and ECF No. 58, Order Granting Stipulation re Motion
28   to Dismiss and Strike, Motion for Reconsideration).
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                                OPPOSITION TO MOTION TO DISMISS AND/OR STRIKE
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 1         As California’s State Legislature expressly declared when enacting the Ralph M.
 2   Brown Act (the “Brown Act”) at issue in this case:
 3         In enacting this chapter, the Legislature finds and declares that the public
 4         commissions, boards and councils and the other public agencies in this State
           exist to aid in the conduct of the people’s business. It is the intent of the law
 5         that their actions be taken openly and that their deliberations be conducted
 6         openly.

 7         The people of this State do not yield their sovereignty to the agencies which
 8         serve them. The people, in delegating authority, do not give their public
           servants the right to decide what is good for the people to know and what is
 9         not good for them to know. The people insist on remaining informed so that
10         they may retain control over the instruments they have created.

11   Cal. Gov’t Code § 54950. Petitioners respectfully assert the law is not as settled as the
12   defendant would like, and that Judge Chalfant’s rejection of their broad Brown Act claim
13   at the demurrer stage was “clear error or […] manifestly unjust” (Sch. Dist. No. 1J,
14   Multnomah Cnty., Or. v. ACandS, Inc., 5 F.3d 1255, 1263 (9th Cir. 1993)), and that the
15   Court should grant reconsideration on this vital issue of public policy. Petitioners
16   contend that, should the Court grant their Motion to Reconsider, the defendant’s
17   Motion to Dismiss will be moot.
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19                                     Respectfully submitted,
20                                     DAVID M. SHABY II & ASSOCIATES
21   Date: November 27, 2017       By: /s/ R. Christopher Harshman
22                                     R. Christopher Harshman, Esq.
                                       Attorneys for Petitioners Kate Scott and James Babinski
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                               OPPOSITION TO MOTION TO DISMISS AND/OR STRIKE
